CaS€ 17-24137-A.]C DOC 12 Filed 12/08/17 Page 1 Of 40

Fi|l in this information to identify your case:

Debtor1 Jesus Moya Barreras

First Name Middle Name Lasl Name

Debtor 2
(SpOuSe, if fl|ing) First Name Midd|e Name Last Name

 

Uniled States Bankruptcy Court for lhe: SOUTHERN D|STR|CT OF FLOR|DA

C_:ase number 17-24137 [] Check if this is an
(lf knOWn) amended filing

 

 

Ofl`icial Form 1068um
Summary of Your Assets and Liabilities and Certain Statistical information 12/15

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying
correct information. Fil| out all of your schedules first; then complete the information on this form. lf you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

Your assets
Value of what you own

1. Schedule A/B.' Property (Official Form 106A/B)
1a. Copy line 55, Tola| real estate, from Schedule A/B ................................................................................................... _MM_

1b. Copy line 62, Tota| personal property, from Schedule A/B ........................................................................................ M

 

1c. Copy line 63, Total of all property on Schedule A/B ................................................................................................. M

Summarize Your Liabilities

 

 

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Parl 1 of Schedule D..... _M

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

3a. Copy the total claims from Parl 1 (priority unsecured claims) from line 6e of Schedule E/F ..................................... ___Y£
3b. Copy the total claims from Parl 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ............................. '|' __M

 

 

Your total liabilities $465,576.00

 

 

 

Summarize Your income and Expenses

4. Schedule /.' Yourlncome (Official Form 106|)
Copy your combined monthly income from line 12 of Schedule | ...................................................................................... $5’954-33

5. Schedule J: Your Expenses (0fficial Form 106J)
Copy your monthly expenses from line 220 of Schedule J ................................................................................................ $5»166-49

Official Form 1068um Summary of Your Assets and Liabilities and Certain Statistical |nfonnation page 1

Case 17-24137-A.]C DOC 12 Filed 12/08/17 Page 2 of 40

Deber 1 Jesus Moya Barreras Case number (if known) 17-24137

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

m No. You have nothing to report on this part of the fomi. Check this box and submit this form to the court with your other schedules

M Yes

7. What kind of debt do you have?
Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
fami|y, or household purpose." 11 U.S.C. § 101(8). Fi|l out lines 8-99 for statistical purposes. 28 U.S.C. § 159.

|:] Your debts are not primarily consumer debts You have nothing to report on this part of the fomi. Check this box and submit
this form to the court with your other schedules `

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from
official Form 122A-1 Line 11; oR, Form 1225 Line 11; oR, Form 1220-1 i_ine14. _M

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

Totai claim

From Part 4 on Schedule E/F, copy the foilowing:

9a. Domestic support obligations (Copy line 6a,) ____M
9b. Taxes and certain other debts you owe the govemment. (Copy line 6b.) ___JQ_
90. Claims for death or personal injury while you were intoxicated (Copy line 6c.) ____M
9d. Student loans. (Copy line 6f.) ______M
9e. Obligations arising out of a separation agreement or divorce that you did not report as ______$U

priority claims. (Copy line 69.)

9f. Debts to pension or profit~sharing plans, and other similar debts. (Copy line 6h.) + ______§9_'_0_°_
eg. Toiai. A<id lines 9a through 9f. $0.00

 

 

 

Oft"icial Form 1068um Summary of Your Assets and Liabilities and Certain Statistical information page 2

Case 17-24137-AJC DOC 12 Filed 12/08/17 Page 3 of 40

Fiii in this information to identify your case and this filing:

Debtor1 Jesus Moya Barreras
First Name Middle Name Last Name

Debtor 2
(SpOu$e, if filing) First Name Middie Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN D|STR|CT OF FLOR|DA

Case number 17-24137 m Check ifthis is an

(lf knOWn) amended filing

 

 

Officiai Form 106A/B
Schedule AlB: Property 12/15

in each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possibie. if two married people are
filing together, both are equally responsible for supplying correct infonnatlon. if more space is needed, attach a separate
sheet to this fonn. On the top of any additional pages, write your name and case number (if known). Answer every question.

 

Describe Each Residence, Buiiding, Land, or Other Reai Estate You Own or Have an interest in

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

|:] No. Go to Parl 2.
M Yes. Where is the property?

 

 

 

 

 

 

1.1. What is the property? Do not deduct secured claims or exemptions Put the
14240 Kendale Lakes Dr Check all that appiy. amount of any secured claims on Schedule D:
Street address, if avaiiab|e’ or other description m Sing|e_famuy home Creditors WhO HBVS C/&im$ SSCUI'Sd by PfOpSI't}/.
|:] Duplex or multi-unit building Current value of the Current value of the
[:| Condominium or cooperative entire property? portion you own?
Mlami Lakes FL 33183 I_'_'l Manufa€fur€d Or mobile home $337,541.00 $337,541.00
Ciiy State ZlP Code n Land
|:] investment property Descrlbe the nature of your ownership
_ m Timeshare interest (such as fee simple, tenancy by the
gaiartr;i-Dade m Other entireties, or a life estate), if known.
Oui'i ___________
Who has an interest in the property? C°'Owner
Homestead Check One
*Mt - Bein aid outside the Cha ter `
13 glan,, g p p M Debtor1 only n Check if this is community property
Purchased on 05/1 512015 i'_'| Debf°r 2 °'“V (See ‘"S"“°"°“S)
Vaiuation as per Miami Dade Tax i:l Debtor1 and Debtorz °"'V
C°"ect°r ['_'] At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number: 30-4927-003-0670

 

 

2. Add the dollar value of the portion you own for ali of your entries from Part1, including any
entries for pages you have attached for Part 1. Write that number here ') $337»541-00

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. if you lease a vehicie, also report it on Schedule G: Executory Contrects and Unexpired Leases.

 

 

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

m No
M Yes

thciai Form 106A/B Schedule AlB: Property page 1

CaS€ 17-24137-AJC DOC 12 Filed 12/08/17 Page 4 Of 40

 

 

 

 

 

 

Debtor1 Jesus Moya Barreras case number (if known) 17-24137
311. Who has an interest in the property? Do not deduct secured claims or exemptions Put the
Make; Chevrolet Check one. amount of any secured claims on Schedule D:
Creditors Who Have C/aims Secured b Pro e .
Model: Express M Debtor1 °my y p ny
Y _ 201 o |:] Debtor 2 only Current value of the Current value of the
ear` _-_ m Debtor1 and Debtor 2 only entire property? portion you own?

Appr°Ximate m"eage: M m At least one of the debtors and another $4,400_00 $4’400_00
Other information:
2010 Chevrolet Express (approx. |:] Check if this ls community property
202000 miles) (see instructions)
*Paid in Fui|*
VlN# 1GCUGADX9A1 162960
Vaiuation as per Nada.com
3.2. Who has an interest in the property? Do not deduct secured claims or exemptions Put the
N\ake; Honda Check one. amount of any secured claims on Schedule D.'
Mode|: od ssa M Debtor 1 only Creditors Who Have Claims Secured by Property.
Year_ 202 n Debtor 2 only Current value of the Current value of the

' _-- m Debtor 1 and Debtor 2 only entire property? portion you own?
Appr°X'mate m'leage: M__ |:| At least one of the debtors and another $1’975_00 $1,975_00
Other inforrnation:
202 Honda Odyssey (approx. 110000 |:| Check if this is community property
mi|e$) (see instructions)
*Paid in Fuli*
VlN# 5FNRL186225002303
Vaiuation as per Nada.com
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories

Examples.' Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

m No

|'_'l Yes
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any

entries for pages you have attached for Part 2. Write that number here ') $6»375-°0

 

 

 

Describe Your Personai and Househoid items

Do you own or have any legal or equitable interest in any of the following items?

6. Househoid goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

|:| No

g Yes. Describe ..... Furniture Description:
sofas, loveseats, coffee tables, end tables, wall units, dining tabie, chairs,
china cabinet, chair, desk, 1 bookcase, beds, dresser, night tables, drawer
stand, and any other miscellaneous furniture.

7. Electronics
Examp/es: Televisions and radios; audiol video, stereo, and digital equipment; computers, printers, scanners;
music coilections; electronic devices including cell phones, cameras, media piayers, games

g No
m Yes. Describe ..... E|ectronlcs:
5 Televisions, 3 Stereo Piayers, 1 DVD Player, 1 Computer, 1 Printer.

Oft"icia| Form 106A/B Schedule AlB: Property

 

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

$2,340.00

' $2!810.00

page 2

Case 17-24137-A.]C DOC 12 Filed 12/08/17 Page 5 of 40

Debtor1 Jesus Moya Barreras Case number (if known) 17-24137

10.

11.

12.

13.

14.

15.

 

 

Coi|ectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

|___]No

 

M Yes. Describe ..... Deccrati¢)ns; $200.00
Picture Frames, Tabie Lamps, Figurines, and any other miscellaneous
decorative items.
Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubsl skis;
canoes and kayaks; carpentry iools; musical instruments
No
m Yes. Describe.....
Firearms
Exemp/es: Pistois, rifles, shotguns, ammunition, and related equipment
M No
|:| Yes. Describe .....
Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
m No
M Yes. Describe..... Ciothing $150.00
Jewelry
Examp/es: Everyday jewelry, costume jewelry, engagement rings, wedding ringsl heirloom jewelry, watchesl gems,
goid, silver
|:| No
M Yes. Describe ..... Jewelry; $50.00
1 Watch, and any other costume jewelry.
Non-farm animals
Examples.' Dogs, cats, birds, horses
g No '
n Yes. Describe .....
Any other personal and household items you did not already list, including any health aids you
did not list
m No
m Yes. Give specific
information .............
Add the dollar value of ali of your entries from Part 3, including any entries for pages you have
attached for Part 3. Write the number here ') $5»55°-00

 

 

 

Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
petition
m No
M Yes .................................................................................................................................... Cash: ..........................
Officiai Form 106A/B Schedule AlB: Property

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

$200.00

page 3

 

Case 17-24137-A.]C DOC 12 Filed 12/08/17 Page 6 of 40

Debtor1 ..lesus Moya Barreras Case number (if known) 17-24137

17.

18.

19.

20.

21.

22.

23.

24.

Deposits of money

Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
brokerage houses, and other similar institutions if you have multiple accounts with the same
institution, list each.

 

ij No

Yes ............................ institution name:
17~1- Checking account Weils Fargo Bank Account #8071 $300.00
17.2. Checking account TD Bank Account #4862 $0.00

 

Bonds, mutual funds, or publicly traded stocks
Examp/es: Bond funds, investment accounts with brokerage firms, money market accounts

-No

m Yes ............................ institution or issuer name:

Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
an interest in an LLC, partnership, and joint venture
m No
M Yes. Give specific
information about
them .......................... Name of entity: % of ownership:

D.M.JE. Enterprises, inc

Value of corporation is based on fair market value of

inventory, fair market value of bank account

Fair market value of inventory $20,000.00

Fair market value of bank account$ 9,000.00

Lawsuit Case No. 17-24331-CA-01

Lawsuit Case No. CL-17-004966-00 100% $29,000.00

Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders
Non~negotiab/e instruments are those you cannot transfer to someone by signing or delivering them.

No
|_‘_'l Yes. Give specific
information about
them .......................... issuer name:

 

Retirement or pension accounts
Examples.' interests in lRA, ER|SA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
profit-sharing plans

m No
cl Yes. List each
account separately. Type of accounts institution name:

Security deposits and prepayments

Your share of ali unused deposits you have made so that you may continue service or use from a company
Examp/es: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others

M No

m Yes ............................ institution name or individual:

Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
m No

L'_'] Yes ............................ issuer name and description:

interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

MNo

[:| Yes ............................ institution name and description Separately file the records of any interests 11 U.S.C. § 521(c)

Officiai Form 106A/B Schedule AIB: Property page 4

Case 17-24137-AJC DOC 12 Filed 12/08/17 Page 7 Of 40

Debtor1 Jesus Moya Barreras Case number (if known) 17-24137

25.

26.

27.

 

Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
powers exercisable for your benefit
No
m Yes. Give specific
information about them

Patents, copyrights, trademarks, trade secrets, and other intellectual property;
Examples: lntemet domain names websites, proceeds from royalties and licensing agreements
No
[:] Yes. Give specific
information about them

Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses cooperative association holdings liquor licenses, professional licenses
No
m Yes. Give specific
information about them

Money or property owed to you? Current value of the

28.

29.

30.

31.

32.

portion you own?
Do not deduct secured
claims or exemptions

Tax refunds owed to you

g No

[:] Yes. Give specific information Federal:
about them, including whether
you already filed the returns Stat€

and the tax years ...................... weak

Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlementl property settlement

-No

n Yes. Give specific information Alimony:
Maintenance:
Support:
Divorce settlement
Property settlement

Other amounts someone owes you
Examples.' Unpaid wages, disability insurance paymentsl disability benefits, sick pay, vacation pay, workers’
compensation, Social Security benefits; unpaid loans you made to someone else

MNo

[_'_] Yes. Give specific information

interests in insurance policies
Examp/es: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
No
m Yes. Name the insurance
company of each policy
and list its value ................ Company name: Beneficiary: Surrender or refund value:

Any interest in property that is due you from someone who has died
if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
entitled to receive property because someone has died

-No

m Yes. Give specific information

 

Officiai Form 106A/B Schedule AlB: Property page 5

Case 17-24137-AJC DOC 12 Filed 12/08/17 Page 8 Of 40

Debel‘ 1 Jesus Moya Barreras Case number (if known) 17-24137

33.

34.

35.

36.

 

Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes insurance claims, or rights to sue

MNo

|:| Yes. Describe each claim ........

Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
rights to set off claims

MNo

m Yes. Describe each claim ........

Any financial assets you did not already list

ENC

E| Yes. Give specific information

 

Add the dollar value of ali of your entries from Part 4, including any entries for pages you have
attached for Part 4. Write that number here -) $29,500-00

 

 

 

 

Describe Any Business-Related Property You Own or Have an interest in. List any real estate in Part 1.

37.

38.

39.

40.

41.

42.

43.

Do you own or have any legal or equitable interest in any business-related property?

m No. Go to Part 6.
|:] Yes. Go to line 38.

Current value of the

portion you own?

Do not deduct secured

claims or exemptions
Accounts receivable or commissions you already earned

-No

m Yes. Describe..

Office equipment, furnishings, and supplies
Examples: Business-related computers software, modems, printers, copiers, fax machines, rugs, telephones
desks, chairs, electronic devices

MNO

m Yes. Describe.t

Machinery, flxtures, equipment, supplies you use in business, and tools of your trade

MNo

|:| Yes. Describe..

inventory

MNo

|:] Yes. Describe..

interests in partnerships orjoint ventures

g No

m Yes. Describe ..... Name of entity: % of ownership:
Customer iists, mailing lists, or other compilations

MNo

m Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

|:] No
m Yes. Describe .....

thcial Form 106AIB Schedule AlB: Property page 6

CaSe 17-24137-AJC DOC 12 Filed 12/08/17 Page 9 Of 40

Dethrl Jesus Moya Barreras Case number (if known) 17-24137

 

 

44. Any business-related property you did not already list

MNo

E| Yes. Give specific information.

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
attached for Part 5. Write that number here 9 $0.00

 

 

 

Part 6: Describe Any Farm- and Commerciai Fishing-Reiated Property You Own or Have an interest in.
if you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

M No. Go to Part 7.
m Yes. Go to line 47.

Current value of the
portion you own?
Do not deduct secured
claims orexemptions.
47. Farm animals
Examples: Livestock, poultry, farm-raised fish

g No
n Yes....

48. Crops-either growing or harvested

m No
m Yes. Give specific
information ................

49. Farm and fishing equipment, impiements, machinery, fixtures, and tools of trade
M No
ij Yes....

50. Farm and fishing supplies, chemica|s, and feed

g No
m Yes..,.

51. Any farm- and commercial fishing-related property you did not already list

M No
m Yes. Give specific
information ................

 

52. Add the dollar value of ali of your entries from Part 6, including any entries for pages you have
attached for Part 6. Write that number here 9 $0-00

 

 

Describe Al| Property You Own or Have an interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

MNO

|:] Yes. Give specific information.

 

 

54. Add the dollar value of ali of your entries from Part 7. Write that number here 9 $0-°0

 

Ochial Form 106A/B Schedule AlB: Property page 7

 

 

Case 17-24137-A.]C DOC 12 Filed 12/08/17 Page 10 Of 40

 

 

 

Debtor1 Jesus Moya Barreras Case number (if known) 17-24137
List the Totals of Each Part of this Form
-)

55.

56.

57.

58.

59.

60.

61.

62.

63.

Officiai Form 106A/B

Part 1 : Totai real estate, line 2

 

Part 2: Totai vehicles, line 5

Part 3: Totai personal and household items, line 15
Part 4: Totai financial assets line 36

Part 5: Totai business-related property, line 45

Part 6: Totai farm- and fishing-related property, line 52

Part 7: Totai other property not iisted, line 54

Totai personal property, Add lines 56 through 61 ..................

$6,375.00
$5,550.00

$29¢500.00

$0.00

$0.00

+ $0.00

 

 

Copy personal
_____M property total

 

 

-)

Totai of ali property on Schedule AlB. Add line 55 + line 62 ................................................................................

Schedule AlB: Property

$337!541 .00

... $41,425.00

 

 

$378,966.00

 

page 8

 

Case 17-24137-AJC DOC 12 Filed 12/08/17 Page 11 Of 40

Fill in this information to identify your case:

 

 

 

 

 

 

Debtor1 Jesus Mova Barreras
First Name Middle Name Last Name
Debtor 2
(SpOuse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: SOUTHERN D|STR|CT OF FLOR|DA n Check if this is an
Case number 17-24137 amended ming
(if known)
Officiai Form 106C
Schedule C: The Property You Claim as Exempt 04/16

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. if more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you ciaim. 0ne way of doing so
is to state a specific dollar amount as exempt. Aiternatlveiy, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory iimit. Some exemptions-such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds-may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

g You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
n You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 

Brief description of the property and line on Current value of Amount of the Specific laws that allow exemption
Schedule A/B that lists this property the portion you exemption you claim
own
Copy the value from Check only one box for
Schedule A/B each exemption
Brlef description $337,541.00 g $2,200.00 Fla. Const. art. X § 4(a)(1); Fla. Stat.
Homestead n 100% of fair market Ann. §§ 222.01, .02
*Mtg - Being paid outside the Chapter 13 value, up to any
P|an* applicable statutory
Purchased on 05/1 5/201 5 limit
Valuation as per Miami Dade Tax Coiiector
Parcei: 30-4927-003-0670

Line from Schedule A/B: 1.1

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

mm

|:| Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case'?
m No
m Yes

Officiai Form 106C Schedule C: The Property You Claim as Exempt page 1

Case 17-2413

Debtor1 Jesus Moya Barreras

7-A.]C DOC 12

 

Additionai Page

Case number (if known)

Filed 12/08/17 Page 12 of 40

1 7~241 37

 

 

Brief description of the property and line on
Schedule A/B that lists this property

Current value of Amount of the
the portion you exemption you claim
own

Copy the value from Check only one box for

 

Specific laws that allow exemption

 

 

Schedule A/B each exemption
Brief description: $4,400.00 $1,000.00 Fia. Stat. Ann. § 222.25(1)
2010 Chevrolet Express (approx. 202000 n 100% of fair market
miles) value, up to any
*Paid in Fu||* applicable statutory
VlN# 1 GCUGADX9A1162960 limil
Valuation as per Nada.com
(1 st exemption claimed for this asset)
Line from Schedule A/B.' 3.1
Brief descriptionf $4,400.00 E| $1,000.00 Fia. Const. art. X, § 4(a)(2)
2010 Chevrolet Express (approx. 202000 m 100% of fair market
miles) value, up to any
*Paid in Ful|* applicable statutory
VlN# 1GCUGADX9A11 62960 limil

Vaiuation as per Nada.com
(2nd exemption claimed for this asset)
Line from Schedule A/B.' 3.1

 

Officiai Form 106C

Schedule C: The Property You Claim as Exempt

page 2

Case 17-24137-AJC DOC 12 Filed 12/08/17 Page 13 Oi 40

Fill in this information to identify your case:

Debtor1 Jesus Moya Barreras
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN D|STR|CT OF FLOR|DA

Case number 1 7-241 37

(if known) |:l Check if this is an

amended filing

 

 

Officiai Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12115

 

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying
correct infon'nation. if more space ls needed, copy the Additionai Page, fill it out, number the entries, and attach it to this fon'n.
On the top of any additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

E| No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this fonn.
m Yes. Fill in all of the information below.

List Aii Secured Claims

2. List all secured ciaims. if a creditor has more than one secured y §
ColumnC

 

 

 

ciaim, list the creditor separately for each ciaim. if more than one §' Cg/umn A ~ ` §Calumn 3 _ y
creditor has a particular claim, list the other creditors in Part 2. As Amount oflc|aim 1trauma of collateral 3
much as possible, list the claims in alphabetical order according to the D° not dedu¢; the ` §`that Sgppom wis '

    

creditors name. value of collateral

Describe the property that j
secures the claim $335,341 .00 $337,541 .00

Homestead

§ciaim`~ ~_ c

 

Ca|iber Home Loans, in
Creditors name

13801 Wireiess Way
Number Street

 

 

 

As of the date you nle, the claim is: Check all that apply.
ij Contingent

Okiahoma City OK 73134 [] Unliquidated
City State ZlP Code n Disputed

who owes the debt? Check °"e' Nature of iien. Check all that apply.

L_.l §e:t°l; °n:y m An agreement you made (such as mortgage or secured car ioan)
g Debtor1 °n:D bt 2 l E| Statutory lien (such as tax lien, mechanic's lien)
e or an e or ony EJud . .
gment lien from a lawsuit
m At least one of the debtors and another M Other (inc|uding a right w offset)

 

E] Check if this claim relates Mortgage
to a community debt
Date debt was incurred 05/2015 Last 4 digits of account number 8 3 3 4

 

Add the dollar value of your entries in Column A on this page. Write
that number here: $335,341.00

 

 

if this is the last page of your form, add the dollar value totals from
ali pages. Write that number here: $335,341.00

 

 

 

Ofncial Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1

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Page 14 of 40

Fill in this information to identify your case:

Debtor 1 Jesus

First Name

Debtor 2

Middle Name

Moya Barreras

Last Name

 

(Spouse, if filing) First Name

Middle Name

Last Name

United States Bankruptcy Court for the: SOUTHERN D|STR|CT OF FLOR|DA

Case number 1 7-241 37

(if known)

 

|:| Check if this is an
amended filing

 

Officiai Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

12/15

 

Be as complete and accurate as possibie. Use Part1 for creditors with PRlOR|TY claims and Part 2 for creditors with NONPRIOR|TY
cialms. List the other party to any executory contracts or unexpired leases that could result in a ciaim. Also list executory contracts

on Schedule A/B: Property (Official Form 106AlB) and on Schedule G: Executory Contracts and Unexplred Leases (Ofiiciai Form 1066).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
if more space is needed, copy the Part you need, fill lt out, number the entries in the boxes on the ieft. Attach the Continuation Page

to this page. On the top of any additional pages, write your name and case number (if known).

List Aii of Your PRlOR|TY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?

M No. Goto Part2.
[:| Yes.

2. List ali of your priority unsecured ciaims. if a creditor has more than one priority unsecured claim, list the creditor separately for each
claim. For each claim |isted, identify what type of claim it is if a claim has both priority and nonpriority amounts, list that claim here and
show both priority and nonpriority amounts As much as possible, list the claims in alphabetical order according to the creditors name. if
more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. if more than one creditor holds a particular

ciaim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet

 

2.1

 

 

 

 

Pn'on'ty Creditor‘s Name

 

Number Street

 

 

 

City State ZlP Code
Who incurred the debt? Check one.

Debtor1 only
m Debtor 2 only

Debtor1 and Debtor 2 only
. E| At least one of the debtors and another
m Check if this claim is for a community debt
is the claim subject to offset?

No
E] Yes

Officiai Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

i Nonprioril:y
amount

 

 

Totai claim Pn'on'ty
§ amount

 

Last 4 digits of account number

When was the debt incurred?

As of the date you fi|e, the claim is: Check all that appiy.
Contingent

m Unliquidated

|'_'_] Disputed

Type of PRlOR|TY unsecured clalm:
m Domestic support obligations
Taxes and certain other debts you owe the government
[] Claims for death or personal injury while you were
intoxicated
m Other. Specify

page 1

Case 17-24137-A.]C Doc 12 Filed 12/08/17 Page 15 of 40

Debtor1 Jesus Moya Barreras

Case number (if known) 17-24137

 

 

List Al| of Your NONPRlORlTY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?
|:| No. You have nothing to report in this part. Submit this form to the court with your other schedules.

M Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
lf a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim iisted, identify what
type of claim it is. Do not list claims already included in Part 1. lf more than one creditor holds a particular claim, list the other creditors in
Part 3. lf more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

 

4.1

 

 

 

Amex

Nonpriority Creditor‘s Name
Correspondence
Number Street

PO Box 981 540

 

El Paso TX 79998
city state zlP code

Who incurred the debt? Check one.
|:| Debtor1 only
Debtor 2 only
Debtor1 and Debtor 2 only
m At least one of the debtors and another

|:| Check if this claim is for a community debt

ls the claim subject to offset?
m No

n Yes
4.2
Capital One

 

 

 

 

 

Nonprion`ty Creditors Name
Attn: Genera| Correspondence/Bankruptcy

 

 

 

 

Number Street

PO Box 30285

Salt Lake Clty UT 84130
City State ZlP Code

Who incurred the debt? Check one.
Debtor1 only
Debtor 2 only
m Debtor1 and Debt0r2 only
m At least one of the debtors and another
jj Check if this claim is for a community debt

ls the claim subject to offset?
No
m Yes

thcial Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

Totai claim y ':

$70,504.00
Last 4 digits of account number L 1
When was the debt incurred? 08[2016
As of the date you file, the claim is: Check all that apply.

n Contingent
g Unliquidated

L__| Disputed

il

Type of NONPRlORlTY unsecured claim:
|:] Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Credit Card

$3,217.00
Last4 digits of account number 1 L _8_ 1

When was the debt incurred? 05/_2014

As of the date you file, the claim is: Check all that apply.
[] Contingent

m Unliquidated

|:] Disputed

Type of NONPRlORlTY unsecured claim:
|:] Student loans
n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
|:| Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Credit Card

page 2

CaS€ 17-24137-A.]C DOC 12 Filed 12/08/17 Page 16 Of 40

Debtor1 Jesus Moya Barreras

Case number (if known) 17-24137

 

Your NONPRlORlTY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.
4.3

Capital One
Nonpriority Creditors Name
Attn: Genera| CorrespondencelBankruptcy

 

 

 

 

 

 

 

 

Number Street

PO Box 30285

Salt Lake City UT 84130
City State ZlP Code

Who incurred the debt? Check one.
Debtor1 only

|:] Debtor2 only
Debtor 1 and Debtor 2 only

E| At least one of the debtors and another

|:] Check if this claim is for a community debt

ls the claim subject to offset?
M No

n Yes

4.4

Citibankl'i'he Home Depot
Nonprlon‘ty Creditors Name
Citicorp Cr Srvleentralized Bankruptcy

 

 

 

 

 

 

 

 

Number street

PO Box 790040

St Louis MO 63129
city state ziP code

Who incurred the debt? Check one.
Debtor1 only
m Debtor2 only
Debtor1 and Debtor 2 only
E| At least one of the debtors and another
m Check if this claim is for a community debt
ls the claim subject to offset?
M No

m Yes

4.5
Comenityca_pitallbjsc|b

 

 

 

 

 

Nonpriority Creditors Name
Comenity Bank
Number Street

PO Box 182125

 

 

Columbus OH 43218

 

City State z\P Code
Who incurred the debt? Check one.
|:l Debtor1 only
Debtor 2 only
m Debtor1 and Debtor2 only
|:] At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?
M No

m Yes

Officiai Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

Totai claim

$1,465.00
Last 4 digits of account number _3_ _9_ L L
When was the debt incurred? 03/2014
As of the date you file, the claim is: Check all that apply.

m Contingent
m Unliquidated

m Disputed

Type of NONPRlORlTY unsecured claim:
Student loans
m Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Credit Card

$5,921.00
Last 4 digits of account number l l _9_ i

When was the debt incurred? 05[2015

As of the date you file, the claim is: Check all that apply.
|:| Contingent

|:| Unliquidated

[:| Disputed

Type of NONPRIOR|TY unsecured claim:
|:| Student loans
L__| Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Credit Card

$20,171.00
Last 4 digits of account number i 1 1 _4__

When was the debt incurred? 06/2016

As of the date you file, the claim is: Check all that apply.

m Contingent
m Unliquidated

|:| Disputed

Type of NONPRIOR|TY unsecured claim:
|:| Student loans
m Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plansl and other similar debts
g Other. Specify
Credit Card

page 3

Case 17-24137-A.]C Doc 12 Filed 12/08/17 Page 17 of 40

Debtor1 Jesus Moya Barreras

Case number (if known) 17-24137

 

Your NONPRIOR|TY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.
4.6

 

 

 

 

Comenitycblel Dorado
Nonprion'ty Creditors Name
Comenity Bank

Number Street

PO Box 182125

 

Columbus OH 43218
City State ZlP Code

Who incurred the debt? Check onel
Debtor1 only
Debtor 2 only

m Debtor1 and Debtor 2 only

m At least one of the debtors and another

jj Check if this claim is for a community debt
ls the claim subject to offset?

 

 

 

 

 

 

 

 

 

m No
n Yes
4.7
Dlscover Financial
Nonpn'ority Creditors Name
PO Box 3025
Number Street
New Albany OH 43054
City State ZiP Code

Who incurred the debt? Check one.
m Debtor 1 only
Debtor 2 only
|'_'j Debtor1 and Debtor2 only
m At least one of the debtors and another
E| Check if this claim is for a community debt

ls the claim subject to offset?

m No
m Yes

4.8

 

 

 

 

Fannie Mae Mortg§ge Loan Company

 

Nonpnority Creditor's Name

c/o Timothy J. Mayopou|os, CEO
Number Street

3900 Wisconsin Avenue, NW

 

Washington DC 20016-2892

 

City State ZlP Code

Who incurred the debt? Check one.
Debtor1 only

m Debtor 2 only

m Debtor1 and Debtor2 only

m At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?
M No

m Yes

Officiai Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

Totai claim

$11,645.00
Last 4 digits of account number __4_ _2_ i 1
When was the debt incurred? 04]2016

As of the date you file, the claim is: Check all that apply.

m Contingent
m Unliquidated
|:] Disputed

Type of NONPRlORlTY unsecured claim:
|:| Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
m Debts to pension or proht-sharing plans, and other similar debts
g Other. Specify
Credit Card

$8,31 1 .00
Last 4 digits of account number 1 l i _2_
When was the debt incurred? 06/2016
As of the date you file, the claim is: Check all that apply.

n Contingent
|:| Unliquidated

[_'] Disputed

Type of NONPRlORlTY unsecured claim:
m Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
g Other. Specify
Credit Card

$0.00
Last4 digits of account number _§_ i 1 i

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
m Contingent

n Unliquidated

|:| Disputed

Type of NONFR|ORlTY unsecured clalm:
|:j Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
|'_'] Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Notlce Only

page 4

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Debtor1 Jesus Moya Barreras

Case number (if known) 1 7-24137

 

 

Your NONPRlORlTY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

 

 

 

 

 

 

 

 

 

4.9

Freddie Mac Mortg§ge Loan Company
Nonpriority Creditor's Name
c/o Donald H. Layton, CEO
Number Street
8200 Jones Branch Dr.
McLean VA 221 02-31 10
City State ZlP Code
Who incurred the debt? Check one.

Debtor 1 only

Debtor 2 only

n Debtor1 and Debtor2 only
m At least orie of the debtors and another

|___| Check if this claim is for a community debt
ls the claim subject to offset?

M No
|:| Yes

4.10

 

 

 

 

Honorable Benjamin G. Greenberg

 

Nonpriority Creditors Name
Acting US Attorney for Southern District

 

 

 

 

Number Street

99 NE 4 St

Miami FL 33132
City State ZlP Code

Who incurred the debt? Check one.
m Debtor1 only
Debtor 2 only
Debtor 1 and Debtor2 only
n At least one of the debtors and another
|:] Check if this claim is for a community debt
ls the claim subject to offset?
M No

n Ye$

4.11

 

 

 

 

internal Revenue Service

 

Nonpriority Creditor's Name
Centralized insolvency Operatlon

 

 

 

 

Number Street

POB 7346

Phi|adelphla PA 191 01 -7346
City State ZlP Code
Who incurred the debt? Check one.

|:] Debtor1 only
Debtor 2 only
n Debtor 1 and Debtor 2 only
m At least one of the debtors and another
|:] Check if this claim is for a community debt
ls the claim subject to offset?
g No
m Yes

Officiai Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

Totai claim
$0.00
Last 4 digits of account number l i_ _6_ _§_
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
l:| Contingent
|:| Unliquidated
m Disputed
Type of NONPR|OR|TY unsecured claim:
|:| Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Notice Only
$0.00
Last4 digits of account number _3_ _4_ _6_ _5_
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
|:] Contingent
m Unliquidated
m Disputed
Type of NONPRIOR|TY unsecured claim:
jj Student loans
g Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
jj Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Notice Only
$0.00

Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check all that apply

m Contingent
|:| Unliquidated

|:| Disputed

LLL_§_

Type of NONPR|OR|TY unsecured claim:
Student loans
m Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
m Other. Specify
Notice Only

page 5

Case 17-24137-A.]C Doc 12 Filed 12/08/17 Page 19 of 40

Debtor1 Jesus Moya Barreras

Case number (if known) 1 7~241 37

 

 

Your NONPRlORlTY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.
4.12

 

 

 

 

Jetstream Federal Crediit Union

 

Nonpriority Creditors Name
clo Sapurstein & Bloch, PA
Number Street

 

 

 

9700 S Dlxie Hwy #1000
Miami FL 33156
City State ZlP Code

Who incurred the debt? Check one.
m Debtor1 only
Debtor 2 only
m Debtor1 and Debtor 2 only
[] At least one of the debtors and another
n Check if this claim is for a community debt
ls the claim subject to offset?
m No

m Yes

4.13
Jetstream Federa| Credit Union

 

 

 

 

 

Nonpriority Creditor‘s Name
7900 Oak Lane #300

 

Number Street

 

 

 

Mlami Lakes FL 33016
City State ZlP Code
Who incurred the debt? Check one.

|:| Debtor1 only
Debtor 2 only
Debtor 1 and Debtor 2 only
[] At least one of the debtors and another

m Check if this claim is for a community debt
ls the claim subject to offset?

m No
m Yes

4.14
Strateglc Fundlng Source, inc

 

 

 

 

 

Nonpriority Creditors Name
clo The Nguyen Law Firm

 

Number Street

 

 

 

1 00 Arbor Oak Drive

Suite 206, POB 1958

Ashland VA 23005
City state ziP Code
Who incurred the debt? Check one.

['_'] Debtor1 only
Debtor 2 only
|:] Debtor1 and Debtor2 only
m At least one of the debtors and another
|:| Check if this claim is for a community debt
ls the claim subject to offset?
M No
m Yes

Officiai Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

Totai claim §
$1.00
Last 4 digits of account number 1 1 1 1_
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
E] Contingent
n Unliquidated
n Disputed
Type of NONPRIOR|TY unsecured claim:
|:j Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Lawsuit/Business Debt
$1.00
Last4 digits of account number _3_ 1 l_ 1
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
n Contingent
n Unliquidated
m Disputed
Type of NONPR|OR|TY unsecured claim:
|:| Student loans
m Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[:| Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Business Account
$1.00

Last4 digits of account number 1 1 _0___ 1
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
n Contingent

m Unliquidated

|:j Disputed

Type of NONPRICR|TY unsecured claim:
|:_] Student loans
jj Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
m Other. Specify
Lawsuit/Business Debt

page 6

Case 17-24137-A.]C Doc 12 Filed 12/08/17 Page 20 of 40

Debtor1 Jesus Moya Barreras

Case number (if known) 1 7-24137

 

Your NONPR|OR|TY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

4.15

 

 

 

 

Strategic Funding Source, inc

 

 

 

 

 

Nonpriority Creditor's Name

211 D Bullfants B|vd #E

Number Street

Williamsburg VA 23188
City State ZlP Code
Who incurred the debt? Check one.

n Debtor1 only
E| Debtor2 only
Debtor1 and Debtor 2 only
m At least one of the debtors and another
n Check if this claim is for a community debt
ls the claim subject to offset?
m No
|:| Yes

4.16

 

 

 

 

Synchrony Bank
Nonpriority Creditors Name
P0 Box 965060
Number Street

 

 

Orlando FL 32896
city State ziP code

Who incurred the debt? Check one.
Debtor1 only

|'_'| Debtor2 only
Debtor1 and Debtor2 only

|:] At least one of the debtors and another

n Check if this claim is for a community debt
ls the claim subject to offset?

No
m Yes

4.17

 

 

 

 

Synchrony Bank/Lowes
Nonpriority Creditors Name
Attn: Bankruptcy
Number Street

 

 

 

PO Box 965060
Orlando FL 32896
City state ziP code

Who incurred the debt? Check one.
Debtor1 only
m Debtor2 only
Debtor1 and Debtor 2 only
m At least one of the debtors and another
m Check if this claim is for a community debt
ls the claim subject to offset?
M No

m Yes

Officiai Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

Totai claim
$0.00
Last 4 digits of account number _(_)__ _6_ 1 _3___
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
m Contingent
|'_"| Unliquidated
|:| Disputed
Type of NONPRIOR|TY unsecured claim:
m Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Business Account
$5,185.00
Last4 digits of account number _1_ 1 __0_ 1
When was the debt incurred? 05/2017
As of the date you file, the claim is: Check all that apply.
[:] Contingent
[_'_`j Unliquidated
m Disputed
Type of NONPRIOR|TY unsecured claim:
E] Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Credit Card
$3,81 3.00
Last 4 digits of account number 1 1 _1_ _4_
When was the debt incurred? 05/2017

As of the date you file, the claim is: Check all that app|y.
l:] Contingent

n Unliquidated

|:] Disputed

Type of NONPRlORlTY unsecured claim:
n Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Credit Card

page 7

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Debtor1 Jesus Moya Barreras

Case number (if known) 17-241 37

List Others to Be Notified About a Debt That You Already Listed

5- Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
For example, if a collection agency is trying to collect from you for a debt you owe to someone eise, list the original
creditor in Parts 1 or 2, then list the collection agency here. Simi|arly, if you have more than one creditor for any of the
debts that you listed in Parts 1 or 2, list the additional creditors here. if you do not have additional parties to be notified for
any debts in Parts 1 or 2, do not fill out or submit this page.

Honorable Jeff Sessions

Name

Attorney General of the United States
Number Street

 

 

 

Dept of Justice #4400

950 Pennsyivania Ave NW

Washington DC 20530
City State ZlP Code

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): m Part 1: Creditors with Priority Unsecured Claims
n Part 22 Creditors with Nonpriority Unsecured Claims

Last4 digits of account number 1 _3_ 1 1

Officiai Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page 8

Debtor1 Jesus Moya Barreras

Case 17-24137-A.]C Doc 12 Filed 12/08/17 Page 22 of 40

 

Add the Amounts for Each Type of Unsecured Claim

Case number (if known) 17-24137

6- Totai the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
28 U.S.C. § 159. Add the amounts for each type of unsecured claim.

Totai claims 6a.

from Part 1

6b.

60.

6d.

6e.

Totai claims 6f.
from Part 2

69.

6h.

6i.

61.

Officiai Form 106E/F

Domestic support obligations
Taxes and certain other debts you owe the government
Claims for death or personal injury while you were intoxicated

Other. Add all other priority unsecured claims. Write that amount here.

Totai. Add lines 6a through 6d.

Student loans

Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar
debts

Other. Add all other nonpriority unsecured claims. Write that amount here.

Totai. Add lines 6f through 6i.

6a.

6b.

6c

6d.

,6d.

6f.

Gg.

6h.

6i.

ej.

Schedule ElF: Creditors Who Have Unsecured Claims

Totai claim

$0.00
$0.00

$0.00

+ $0.00

 

$0.00

 

 

 

Totai claim
$0.00

$0.00

$0.00

+ $1 301235.00

 

$130:235.00

 

 

 

page 9

Case 17-24137-A.]C Doc 12 Filed 12/08/17 Page 23 of 40

Fill in this information to identify your case:

Debtor1 Jesus Moya Barreras
First Name Middle Name Last Name `

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN D|STR|CT OF FLOR|DA

(cifa::orxinr;iber 17-24137 |_'_'j checkifihisis an
amended filing

 

 

Officiai Form 1066

Schedule G: Executory Contracts and Unexpired Leases 12/15
w
Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying

correct information. if more space is needed, copy the additional page, fill lt out, number the entries, and attach it to this page.

On the top of any additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired ieases?
m No. Check this box and file this form with the court with your other schedules You have nothing else to report on this form.
M Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (thcial Form 106AlB).

2. List separately each person or company with whom you have the contract or lease, Then state what each contract or lease
is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
executory contracts and unexpired leases.

 

Person or company with whom you have the contractor lease State what the contractor lease is for
2.1 Mercedes Benz Financial 2017 Mercedes Benz C300C
:Em°B 961 36 Months Lease Contract
'°' °x Contract to be ASSUMED

 

Number Street

 

Roanoke TX 76262
city state ziP code

Officiai Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1

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Fill in this information to identify your case:

Debtor1 Jesus Moya Barreras
First Name Middle Name Last Name

Debtor 2

 

(SpOu$e, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: SOUTHERN D|STR|CT OF FLOR|DA

Qase number 17-24137 |:| Check if this is an
(lf known) amended Hling

 

 

Officiai Form 106H

Schedule H: Your Codebtors 12/15

 

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. if
two married people are filing together, both are equally responsible for supplying correct information. if more space is
needed, copy the Additionai Page, fill it out, and number the entries in the boxes on the left. Attach the Additionai Page to this
page. On the top of any Additionai Pages, write your name and case number (if known). Answer every question.

1. Do you have any codebtors? (if you are filing a joint case, do not list either spouse as a codebtor.)
g No
m Yes

Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
include Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

M No. Go to line 3.
E| Yes. Did your spouse, former spouse. or legal equivalent live with you at the time'?

m No
[J Yes

in Coiumn 1, list ali of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the

creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106ElF), or Schedule G (Official Form 1066). Use
Schedule D, Schedule E/F, or Schedule G to fill out Coiumn 2.

Coiumn 1.' Your codebtor Co/umn 2: The creditor to whom you owe the debt

Check all schedules that apply:

Officiai Form 106H Schedule H: Your Codebtors page 1

CaS€ 17-24137-A.]C DOC 12 Fi|eC| 12/08/17 Page 25 Of 40

Fill in this information to identify your case:

Debtor1 Jesus Moya Barreras
First Name Middle Name Last Name Check if this is:

 

Debt°" 2 n An amended filing
(Spouse, if fliing) First Name Middle Name Last Name

 

 

 

 

United States Bankruptcy Court for the: SOUTHERN D|STR|CT OF FLOR|DA |:| A Supp|em§nt sman postpemor¥
chapter 13 income as of the following date:
C_)ase number 1 7-24137
(|f known) MM / DD / YYYY
Officiai Form 106|
Schedule i: ¥our income 12/15

 

Be as complete and accurate as possible. if two married people are filing together (Debtor1 and Debtor 2), both are equally
responsible for supplying correct information. if you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. if you are separated and your spouse is not filing with you, do not include information
about your spouse. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

Describe Emp|oyment

1. Fill in your employment

 

 

 

 

 

 

 

 

information Debtor1 Debtor 2 or non-filirng spouse
lf you have more than one
job, attach a separate page Employmenf StatUS M Employed m Employed
with information about j'_'l Not employed n Not employed
additional employers _
Occupation Seif EmployedlBusiness Owner

include part-time, seasonal,
or self-employed work. Employer's name D.M.J.E. Enterprises inc
Occupati°n may include Employer's address 2365 NW 70 Ave
student or homemaker, if it Number Street Number Street
applies.

Miami FL 33122

City State Zip Code City State Zip Code

How long employed there? 5 Years

Give Detai|s About Montth income

Estimate monthly income as of the date you file this form. if you have nothing to report for any iine, write $0 in the space. include your
non-filing spouse unless you are separated.

if you or your non-ming spouse have more than one employer, combine the information for all employers for that person on the lines below. if
you need more space, attach a separate sheet to this form.

 

 

 

 

For Debtor 1 For Debtor 2 or
non-filing spouse
2. List monthly gross wages, salary, and commissions (before all 2. $0.00
payroll deductions). if not paid monthiy, calculate what the monthly wage
would be.
3. Estimate and list monthly overtime pay. 3. + $0_00
4. Caicuiate gross income. Add line 2 + line 3. 4. $0_00

 

 

 

 

 

 

Officiai Form 106| Schedule l: Your income page 1

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Debtor1 Jesus Moya Barreras case number (if known) 17-24137
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy line 4 here -) 4 $0.00
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $0.00
5b. Mandatory contributions for retirement plans 5b. $0.00
5c. Voluntary contributions for retirement plans 50. $0.00
5d. Required repayments of retirement fund loans 5d. $0.00
5e. insurance 5e. $0.00
5f. Domestic support obligations 5f. $0.00
Sg. Union dues 59. $0.00
5h. Other deductions.
Specify: 5h.+ $0.00
6. Add the payroll deductions. Add lines 5a + 5b + 50 + 5d + 5e + 5f + 6. $g_gg
59 + 5h.
7. Caicuiate total monthly take-home pay. Subtract line 6 from line 4. 7. $0_00
8. List ali other income regularly received:
8a. Net income from rental property and from operating a 8a. $5,835_00
business, profession, or farm
Attach a statement for each property and business showing
gross receipts, ordinary and necessary business expenses, and
the total monthly net income.
8b. interest and dividends 8b. $0.00
8c. Famiiy support payments that you, a non-filing spouse, or a 8c. $0_00
dependent regularly receive
include alimony, spousal support, child support, maintenance,
divorce settlementl and property settiement.
8d. Unemployment compensation Sd. $0.00
8e. Social Security 8ei $0_00
8f. Other government assistance that you regularly receive
include cash assistance and the value (if known) or any non-
cash assistance that you receive, such as food stamps
(benefits under the Supplemental Nutrition Assistance Program)
or housing subsidies
Specify: 8f. $0_00
89. Pension or retirement income 89. $0.00
8h. Other monthly income.
Specifo income tax refund. 3h-+ $119.33
9. Add all other income. Add lines 8a + 8b + 80 + 8d + 8e + Sf + 89 + 8h. 9. $5,954_33
10. Caicuiate monthly income. Add line 7 + line 9. 10. $5,954_33 -.= $5,954_33

Add the entries in line 10 for Debtor1 and Debtor 2 or non-filing spouse.
11. State ali other regular contributions to the expenses that you list in Schedule J.

include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

 

 

 

 

 

 

 

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

 

 

 

 

 

Specify: 1 1. + $0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly 12. $5 954_33
income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical information, _
if it applies Comblned
monthly income
13. Do you expect an increase or decrease within the year after you file this form?
NO. None.

[:j Yes, Explain:

Officiai Form 106|

 

 

Schedule l: Your income

page 2

 

 

 

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Debtor1 Jesus Moya Barreras case number (if known) 17-24137

 

8a. Attached Statement(Debtor1)

Seif Emp|oyedlBusiness Owner

Gross Monthiy income: $5,835.00
Expense Category Amount

Totai Monthiy Expenses $0.00
Net Monthiy income: $5,835.00

Officiai Form 106| Schedule l: Your income page 3

CaS€ 17-24137-A.]C DOC 12 Filed 12/08/17 Page 28 Olc 40

Fill in this information to identify your case:

Check if this is:

 

 

 

 

 

Debtor1 Jesus Moya Barreras E| An amended filing
First Name Middle Name Last Name n A supplement showing postpetition
chapter 13 expenses as of the
Debtor 2 ~ »
(Spouse, if filing) First Name Middie Name Last Name f°"°W'"Q date-
United States Bankruptcy Court for the: SOUTHERN D|STR|CT OF FLOR|DA MM / DD /YYYY
Case number 1 7-24137
(if known)

 

Ofnciai Form 106J
Schedule J: Your Eernses 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying
correct information. if more space is needed, attach another sheet to this fonn. On the top of any additional pages, write your
name and case number (if known). Answer every question.

Describe Your Househoid

1. is this a joint case?

M No. Go to line 2.
cl Yes. Does Debtor 2 live in a separate household?

|:|No

E] Yes. Debtor 2 must file Officiai Form 106J-2, Expenses for Separate Househoid of Debtor 2.
2. Do you have dependents? n NO

 

 

 

 

 

 

- - ~ - Dependent's relationship to Dependent's Does dependent
Do not list Debtor 1 and m ;)er:a:;,:\::;;:'§e|:tfmmauon Debtor 1 or Debtor 2 §ge live with you?
Debtor 21 ....................
Dauqhter 17 Yrs Oid g 533
Do not state the dependents' N
names son 11 Yrs oid n °
Yes
m No
|___] Yes
n No
|:j Yes
|:] No
|:j Yes
3. Do your expenses include M No
expenses of people other than m Yes

yourself and your dependents?

Estimate Your ongoing Monthiy Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. lf this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.

include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule i: Your income (Cfficia| Form 106|.) Your expenses

 

4. The rental or home ownership expenses for your residence. 4. §2,883,48
include first mortgage payments and any rent for the ground or lot.

if not included in line 4:

4a. Reai estate taxes 4a.
4b. Property, homeowners or renter's insurance 4b.
4c. Home maintenance, repair, and upkeep expenses 4c.
4d. Homeowner's association or condominium dues 4d.

Officiai Form 106J Schedule J: Your Expenses page 1

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Debtor1 Jesus Moya Barreras

10.
11.
12.

13.

14.
15.

16.

17.

18.

19.

 

Additionai mortgage payments for your residence, such as home equity loans
Uti|ities:

6a. Electricity, heat, natural gas

6b. Water, sewer, garbage collection

6e. Teiephone, cell phone, lnternet, satellite, and
cable services

6d. Other. Specify: Cabie

Food and housekeeping supplies
Chi|dcare and children's education costs
Ciothing, iaundry, and dry cleaning
Personai care products and services
Medical and dental expenses

Transportation. include gas, maintenance, bus or train
fare. Do not include car payments.

Entertainment, clubs, recreation, newspapers,
magazines, and books

Charitable contributions and religious donations

lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b Heaith insurance
15c. Vehicle insurance

15d. Otherinsurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

installment or lease payments:

17a. Car payments for Vehicle 1 Car Payment
17b. Car payments for Vehicle 2

17c. Other. Specify:

 

17d. Other. Specify:

 

Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule l, Your income (Official Form 106|).

Other payments you make to support others who do not live with you.
Specify:

 

Officiai Form 106J Schedule J: Your Expenses

Case number (if known) 17-24137

 

Your expenses
5.
6a. §325.48
6b. §25.00
6c.
6d~ §19.00
7. §425.00
8.
9. §65.00
10. §45.00
11. §10.00
12. §1 50.00
13.
14.
15a.
15b. $222.00
15c. $137.75
15d.
16.
173- §858.78
17b.
17c.
17d.
18.
19,

page 2

Debtor 1

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Jesus Moya Barreras

 

20. Other real property expenses not included in lines 4 or 5 of this form or on
Schedule l: Your income.

Case number (if known) 1 7~241 37

 

 

 

 

 

 

 

 

 

 

20a. Mortgages on other property 20a.
20b. Reai estate taxes 20b.
20e. Property, homeowners or renter's insurance 200.
20d. Maintenance, repair, and upkeep expenses 20d.
20e. Homeowner‘s association or condominium dues 20e.
21 . Other. Specify: 21. +
22. Caicuiate your monthly expenses.
22a. Add lines 4 through 21. 22a §5 166_49
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Officiai Form 106J-2 22b.
22c Add line 22a and 22b. The result is your monthly expenses. 22c §5 165,49
23. Caicuiate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule l. 23a. §5 954_33
23b. Copy your monthly expenses from line 22c above. 23b. _ §§ 166_49
23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income. 23c. _________$ZM
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
payment to increase or decrease because of a modification to the terms of your mortgage?
M No.
m Ye$_ Explain here:
None.
Officiai Form 106J Schedule J: Your Expenses page 3

 

 

 

CaS€ 17-24137-AJC DOC 12 Filed 12/08/17 Page 31 Of 40

Fill in this information to identify your case:

Debtor1 Jesus Moya Barreras

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN D|STR|CT QF FLOR|DA

Qase number 17-24137 |:] Check if this is an
(If KnOWn) amended filing

 

 

Officiai Form 106Dec
Dec|aration About an individual Debtor's Scheduies 12/15

 

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

-2 Be'<>w

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

g No
n Yes. Name of person Attach Bankruptcy Petition Preparer's Notice,
Declaration, and Signature (Official Form 119).

 

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and that they are
true and correct.

 

 

X Is/ Jesus Moya Barreras X
Jesus Moya Barreras, Debtor 1 Signature of Debtor2
Date 12/04/2017 Date
MM/DD/YYYY MM/DD/YYYY

),

Officiai Form 106Dec Declaration About an individual Debtor's Schedules page 1

Case 17-24137-AJC DOC 12 Fi|€d 12/08/17

Fill in this information to identify your case:

Debtor1 Jesus Moya Barreras
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN D|STR|CT OF FLOR|DA

Case number 1 7-24137
(if known)

 

 

Officiai Form 107
Statement of Financial Affairs for individuals Filing for Bankruptcy 04/16

Page 32 of 40

|:_] Check if this is an
amended filing

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying
correct information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

Give Detai|s About Your Marital Status and Where ¥ou Lived Before

1.

Officiai Form 107

What is your current marital status?
n Married
Not married

During the last 3 years, have you lived anywhere other than where you live now?

mNo

m Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
(Community property states and tem'ton'es include Arizona, Caiifornia, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,

Washington, and Wisconsin.)

MNo

m Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Statement of Financial Affairs for individuals Filing for Bankruptcy page 1

Case 17-24137-AJC DOC 12 Filed 12/08/17 Page 33 Of 40

Debtor1 Jesus Moya Barreras

Case number (if known)

1 7-241 37

 

 

Part 2: Explain the Sources of Your income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and ali businesses, including part-time activities
if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

m No
g Yes. Fill in the details.

Debtor1
Sources of income

Check all that apply.

From January 1 of the current year until
the date you filed for bankruptcy:

Wages, commissions,
bonuses, tips

M Operating a business

For the last calendar year: g Wages, commissions,

bonuses, tips

1 31
(January to December `~_2016 ) M Operating abusiness

YYYY

For the calendar year before that: Wages, commissions,

bonuses, tips

J 1 D b 31 d
( anuary to ecem er `---2015 ) M Operatingabusiness

YYYY

$50,000.00

$28,402.00

$36,792.00

Debtor2

Sources of income
Check all that apply.

Gross income
(before deductions
and exclusions

m Wages, commissions,
bonuses, tips

|'_"] Operating a business

n Wages, commissions,
bonuses, tips

L__] Operating a business

|'_'] Wages, commissions,
bonuses, tips

[] Operating a business

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxabie. Examples of other income are alimony; child support; Social Security;
unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
and gambling and lottery winnings. if you are in a joint case and you have income that you received together, list it only once under

Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

mNo

n Yes. Fill in the details.

Officiai Form 107

Statement of Financial Affairs for individuals Filing for Bankruptcy

Gross income
(before deductions
and exclusions

page 2

Case 17-24137-A.]C DOC 12 Filed 12/08/17 Page 34 of 40

Debtor 1 Jesus Moya Barreras Case number (if known) 17-24137

 

 

List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

m No. Neither Debtor1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
"incurred by an individual primarily for a personal, family, or household purpose."

During the 90 days before you died for bankruptcy, did you pay any creditor a total of $6,425* or more?

m No. Go to line 7.

m Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Alsol do not include payments to an attorney for this bankruptcy case,

* Subject to adjustment on 4/01/19 and every 3 years after that for cases died on or after the date of adjustment

g Yes. Debtor1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

m No. Go to line 7.

|'_'| Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and alimony,
Also, do not include payments to an attorney for this bankruptcy case.

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an |nsider?
Insiders include your relatives; any general pariners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in controi, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations
such as child support and alimony.

MNo

m Yes. List ali payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
benefited an lnsider?

include payments on debts guaranteed or cosigned by an insider.

MNo

|:] Yes. List all payments that benefited an insider.

Officiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 3

CaSe 17-24137-A.]C DOC 12 Filed 12/08/17 Page 35 Of 40

Debtor1 Jesus Moya Barreras

Case number (if known) 17-24137

 

identify Legal Actions, Reposseesions, and Foreciosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List ali such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody

modifications and contract disputes

|:|No

m Yes. Fill in the details.

Case title Nature of the case
Jetstream Federal Credit Union Lawsuit

vs. DMJE Enterprises, inc and '

Jesus Moya

Case number 2017-24331-CA-01

Case title Nature of the case

Strategic Fund|ng Source, inc Lawsuit
vs. Jesus M. Barreras

Case number CL17-004966-00

 

 

 

 

 

 

 

 

Court or agency Status of the case
Dade County Cierk of Courts .
Court Name m Pendmg
73 west Flagler Street n On appeal
Number Street

n Concluded
Miami FL 33130
City State ZlP Code
Court or agency Status of the case
Commonwealth of Virginia .
Court Name M Pendmg
1111 E Broward Street 4th Fioor |:| On appeal
Number Street

|:| Concluded
Richmond VA 23219
City State ZlP Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,

seized, or levied?
Check all that apply and fill in the details below.

M No. Go to line 11.
m Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
amounts from your accounts or refuse to make a payment because you owed a debt?

-No

m Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of

creditors, a court-appointed receiver, a custodian, or another officia|?

No
m Yes

Officiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 4

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Debtor1 Jesus Moya Barreras Case number (if known) 17-24137

List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

MNO

L__] Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
to any charity?

MNo

m Yes. Fill in the details for each gift or contribution

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
other disaster, or gambling?

mNo

n Yes. Fill in the details.

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?

include any attomeys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

l:]No

Yes. Fill in the details.

 

Description and value of any property transferred Date payment Amount of
Law offices of Pairick L. cordero, P.A_ Plus $310.00 Filing Fees- °'*'a"$'e'“'a$ Pay"‘°“*
Person Who Was Peid made
7333 Corai Way 11I22l201 7 $1 ,900.00

 

 

Number Street

 

 

Miami FL 33155
city state ziP code

 

Emaii or website address

 

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
anyone who promised to help you deal with your creditors or to make payments to your creditors?

Do not include any payment or transfer that you listed on line 16.

M No
m Yes. Fill in the detai|s,

Officiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 5

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Debtor1 Jesus Moya Barreras Case number (if known) 17-24137
18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
property transferred in the ordinary course of your business or financial affairs?

include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement

MNo

m Yes. Fill in the details.
19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
you are a beneficiary? (These are often called asset-protection devices.)
w No
m Yes. Fill in the details.

List Certain Financial Accounts, lnstruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
benefit, ciosed, soid, moved, or transferred?

include checking, savings, money market, or other financial accounts; certincates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions

MNo

m Yes. Fill in the detai|s.

21. Do you now have, or did you have within 1 year before you filed for bankruptcyl any safe deposit box or other depository
for securities, cash, or other valuables?

mNo

m Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

MNo

|:| Yes. Fill in the details.

identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.

MNo

m Yes. Fill in the details.

Officiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6

Case 17-24137-A.]C DOC 12 Filed 12/08/17 Page 38 Of 40

Debtor1 Jesus Moya Barreras Case number (if known) 17-24137

 

Part 10: Give Detai|s About Environmentai information
For the purpose of Part 10, the following definitions apply:

l Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substance, wastes, or material into the air, land, soii, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or materiai.

l Site means any location, facility, or property as defined under any environmental iaw, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

l Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar item,

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
iaw?

MNo

E| Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?

mNo

n Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? include settlements and
orders.

MNo

|:| Yes. Fill in the detai|s.

Part 11: Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
business?

M A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
m A member of a limited liability company (LLC) or limited liability partnership (LLP)

|"_'] A partner in a partnership

n An oft"icer, director, or managing executive of a corporation

L__| An owner of at least 5% of the voting or equity securities of a corporation

m No. None of the above applies. Go to Part 12.
Yes. Check all that apply above and fill in the details below for each business

Describe the nature of the business Employer identification number
DMJE Enterprises, |nc Exp°rt Services & whole Sale D° not include Social Security number Ol` lTlN.
Business Name

2365NW70Ave _____________
Number Street Name of accountant or bookkeeper

Mu|ti Business Center Corp Dates business existed

 

 

From 02/22/2012 To Present

Miami FL 33122
city state ziP code

 

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Debtor1 Jesus Moya Barreras Case number (if known) 17-24137

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include
all financial institutions, creditors, or other parties.

mNo

n Yes. Fill in the details below.

Part 12: Sign Beiow

l have read the answers on this Statement of Flnanclal Affairs and any attachments, and l declare under penalty of perjury
that answers are true and correct. l understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

X lsl Jesus Moya Barreras X
Jesus Moya Barreras, Debtor 1 Signature of Debtor 2
Date 1 2104/201 7 Date

Did you attach additional pages to ¥our Statement of Financial Affairs for lndividuals Filing for Bankruptcy (Official Form 107)?

w No

n Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

m No

m Yes. Name of person Attach the Bankruptcy Petition Preparefs Notice,

 

Declaration, and Signature (thcia| Form 119).

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UNiTED STATES BANKRUFTCY COURT
SOUTHERN D|STR|CT OF FLOR|DA
MlAMi D|VlSiON

lN RE: Jesus Moya Barreras CASE NO 17-24137

CHAPTER 13

VER_|F|CAT|ON OF CRE|_D|TOR M_ATR|X

The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge

Date 12/4/2017 Signatu,-e lsI Jesus Moya Barreras
Jesus Moya Barreras

 

Date Signature

 

